8:03-cr-00163-LSC-SMB        Doc # 155     Filed: 06/10/08     Page 1 of 3 - Page ID # 648




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )              CASE NO. 8:03CR163
                                              )
              Plaintiff,                      )
                                              )
              vs.                             )                    ORDER
                                              )
JORGE A. ARONJA-INDA,                         )
                                              )
              Defendant.                      )

        This matter is before the Court on the government’s motion to continue its briefing

deadline (Filing No. 154). Defense counsel has no objection to the request. (Filing No.

154.)

        The government requests a continuance until June 16, 2008, to file its response

brief with respect to the crack cocaine issue.

        IT IS ORDERED:

        1.    The government’s motion to continue its briefing deadline (Filing No. 154) is

              granted;

        2.    The government must submit its response brief on or before June 16, 2008;

              and

        3.    The Defendant’s reply brief must be filed on or before June 26, 2008.

        DATED this 10th day of June, 2008.

                                                  BY THE COURT:


                                                  s/Laurie Smith Camp
                                                  United States District Judge
8:03-cr-00163-LSC-SMB        Doc # 155     Filed: 06/10/08     Page 2 of 3 - Page ID # 649




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )              CASE NO. 8:03CR163
                                              )
              Plaintiff,                      )
                                              )
              vs.                             )                    ORDER
                                              )
JORGE A. ARONJA-INDA,                         )
                                              )
              Defendant.                      )

        This matter is before the Court on the government’s motion to continue its briefing

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        The government requests a continuance until June 16, 2008, to file its response

brief with respect to the crack cocaine issue.

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        1.    The government’s motion to continue its briefing deadline (Filing No. 154) is

              granted;

        2.    The government must submit its response brief on or before June 16, 2008;

              and

        3.    The Defendant’s reply brief must be filed on or before June 26, 2008.

        DATED this 10th day of June, 2008.

                                                  BY THE COURT:


                                                  s/Laurie Smith Camp
                                                  United States District Judge
8:03-cr-00163-LSC-SMB        Doc # 155     Filed: 06/10/08     Page 3 of 3 - Page ID # 650




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )              CASE NO. 8:03CR163
                                              )
              Plaintiff,                      )
                                              )
              vs.                             )                    ORDER
                                              )
JORGE A. ARONJA-INDA,                         )
                                              )
              Defendant.                      )

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              and

        3.    The Defendant’s reply brief must be filed on or before June 26, 2008.

        DATED this 10th day of June, 2008.

                                                  BY THE COURT:


                                                  s/Laurie Smith Camp
                                                  United States District Judge
